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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   COURTNEY FEIN, Bar #244785
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   (916) 498-5700
 5   Attorney for Defendant
     MARIO FLORES-PINEDA
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            ) NO. Cr.S. 12-0293-JAM
                                          )
12                    Plaintiff,          )         AMENDED
                                          ) STIPULATION AND ORDER
13       v.                               ) CONTINUING STATUS
                                          ) CONFERENCE; EXCLUDING TIME
14   MARIO FLORES-PINEDA and              )
     SILVANO VARGAS,                      ) Date: October 23, 2012
15                                        ) Time: 9:45 a.m.
                  Defendants.             ) Judge: Hon. John A. Mendez
16   __________________________
17       IT IS HEREBY STIPULATED by and between the parties hereto
18   through their respective counsel, JILL THOMAS, Assistant United
19   States Attorney, attorney for Plaintiff; PREETI BAJWA, attorney
20   for SILVANO VARGAS; and COURTNEY FEIN, attorney for MARIO
21   FLORES-PINEDA, that the status conference hearing date of
22   September 4, 2012, be vacated, and the matter be set for status
23   conference on October 23, 2012, at 9:45 a.m.
24       The reason for this continuance is to allow both defense
25   counsel additional time to review the discovery, consult with
26   their     clients,      examine     possible      defenses,      and    continue
27   investigating the facts of the cases.
28       Based upon the foregoing, the parties agree that the time
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 1   under the Speedy Trial Act should be excluded from the date of
 2   signing of this order through and including October 23, 2012
 3   pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable
 4   time to prepare] and Local Code T4 based upon continuity of
 5   counsel.
 6   DATED:     August 29, 2012            Respectfully submitted,
 7                                         DANIEL J. BRODERICK
                                           Federal Public Defender
 8
                                           /s/ Courtney Fein
 9                                         COURTNEY FEIN
                                           Assistant Federal Defender
10                                         Designated Counsel for Service
                                           Attorney for MARIO FLORES-PINEDA
11
12   DATED:     August 29,2012             /s/ Pretti Bajwa
                                           PRETTI BAJWA
13                                         Attorney for Defendant
                                           SILVANO VARGAS
14
15   DATED:     August 29, 2012            BENJAMIN WAGNER
                                           United States Attorney
16
17                                         /s/ Jill Thomas
                                           JILL THOMAS
18                                         Assistant U.S. Attorney
                                           Attorney for Plaintiff
19
20                                   ORDER
21       UPON GOOD CAUSE SHOWN and the stipulation of all parties,
22   it is ordered that the September 4, 2012, status conference
23   hearings be continued to October 23, 2012 at 9:45 a.m.               Based
24   on the representation of both defense counsel and good cause
25   appearing therefrom, the Court hereby finds that the failure to
26   grant a continuance in this case would deny defense counsel
27
28                                          2
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 1   reasonable time necessary for effective preparation, taking
 2   into account the exercise of due diligence.                 The Court finds
 3   that the ends of justice to be served by granting a continuance
 4   outweigh the best interests of the public and the defendants in
 5   a speedy trial.      It is ordered that time up to and including
 6   the October 23, 2012 status conference shall be excluded from
 7   computation of time within which the trial of this matter must
 8   be commenced under the Speedy Trial Act pursuant to 18 U.S.C.
 9   § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow
10   defense counsel reasonable time to prepare.
11   Dated: 8/29/2012
12
13                                   /s/ John A. Mendez
                                     JOHN A. MENDEZ
14                                   United States District Court Judge
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